                      Case 4:14-cr-00211-DPM                   Document 795              Filed 06/21/16          Page 1 of 5
AO 245B (Rev. 10/15) Judgment ma Cnmmal Case
                     Sheet 1
                                                                                                                        FILED
                                                                                                                      U.S. DISTRICT COURT



                                         UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas
                                                                          )
               UNITED STATES OF AMERICA                                   )
                                 v.                                       )
                             Charles Elie                                 )
                                                                                  Case Number: 4: 14-cr-211-DPM-24
                                                                          )
                                                                          )       USM Number: 28843-009
                                                                          )
                                                                          )        Richard L. Mays Jr.
                                                                          )       Defendant" s Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)        67 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count( s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 21 U.S.C. § 843(b)               Using a Communication Facility to Facilitate Committing a

                                  Drug Offense, a Class E Felony                                              3/21/2014                   67



       The defendant is sentenced as provided in pages 2 through         __5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1 & 66                                D is      Ill are dismissed on the motion of the United States.
                ------------~




         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          6/21/2016
                                                                         Date oflmpos1tion of Judgment




                                                                          D.P. Marshall Jr.                          United States District Judge
                                                                         Name and Title of Judge


                                                                                __)../      ~fl)e_        )..O l{p
                                                                         Date
                            Case 4:14-cr-00211-DPM                  Document 795             Filed 06/21/16          Page 2 of 5
AO 2458 (Rev I 0/15) Judgment ma Cnrnmal Case
        Sheet 4-Probation
                                                                                                                Judgment-Page            of
DEFENDANT: Charles Elie
CASE NUMBER: 4:14-cr-211-DPM-24
                                                                      PROBATION

 The defendant is hereby sentenced to probation for a term of:

 3 years.




 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 D            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
              future substance abuse. (Check. if applzcable.)
 IZ'.l        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. ifapplzcable.J

 Ill          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if apphcable.)

 D            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. ~ 16901, et seq.)
              as directed by the probat10n officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
              works, is a student, or was convicted of a qualifying offense. (Check. if applzcable.)               ~

 D            The defendant shall participate in an approved program for domestic violence. (Check. if applzcable)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             ST AND ARD CONDITIONS OF SUPERVISION
         1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)        the defendant shall support his or her dependents and meet other family responsibilities;
         5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
     6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted permission to do so by the probation officer;
   10)         the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view of the probation officer;
   11)         the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
   12)         the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
   13)         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
               record or persona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
               defendant s compliance with such notification requirement.
                    Case 4:14-cr-00211-DPM
AO 245B (Rev 10/15) Judgment ma Cnmrnal Case
                                                    Document 795         Filed 06/21/16       Page 3 of 5
        Sheet 4C - Probation
                                                                                         Judgment-Page ~~3~ of   5
DEFENDANT: Charles Elie
CASE NUMBER: 4: 14-cr-211-DPM-24

                                      SPECIAL CONDITIONS OF SUPERVISION
  81) Elie must perform 150 hours of community service, at least 50 hours per year until completed.
                        Case 4:14-cr-00211-DPM                 Document 795                Filed 06/21/16         Page 4 of 5
AO 2458 (Rev. 10/15) Judgment in a Cnmmal Case
         Sheet 5 - Cnmmal Monetary Penalties
                                                                                                     Judgment -   Page            of        5
DEFENDANT: Charles Elie
CASE NUMBER: 4:14-cr-211-DPM-24
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                        Fine                               Restitution
 TOTALS             $   100.00                                        $   0.00                           $    0.00


 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO :!45CJ will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priori!)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

   Name of Pavee                                                            Total Loss*         Restitution Ordered        Priority or Percentage




 TOTALS                              $                        0.00


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(£). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the          D fine       D restitution.
       D the interest requirement for the         D   fine    D restitution is modified as follows:

 *Findings forthe total amount oflosses are req_uired under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                      Case 4:14-cr-00211-DPM
AO 245B (Rev 10/15) Judgment ma Cnmmal Case
                                                                 Document 795               Filed 06/21/16             Page 5 of 5
        Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page              of
 DEFENDANT: Charles Elie
 CASE NUMBER: 4:14-cr-211-DPM-24

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     IZJ Lump sum payment of$ -100.00
                                 ------
                                        due immediately, balance due

            D      not later than                                    , or
            i;zj   in accordance        D    C,     D    D,     D     E,or       ~   F below: or

 B    D     Payment to begin immediately (may be combined with               oc,           D D, or      D F below); or
 C    D     Payment in equal                         (e.g., weekly. monthly, quarterly) installments of $                              over a period of
                           (e.g.. months or years), to commence                        (e.g .. 30 or 60 days! after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly. quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D Payment during the term of supervised release will commence within                     (e.g.. 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendanf s ability to pay at that time; or

 F    IZJ   Special instructions regarding the payment of criminal monetary penalties:
             If Elie can't pay the special assessment immediately, then he must pay 10 percent of his gross monthly income
             until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crnninal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
